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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )       CR-F-02-5408-OWW
                                       )
12                   Plaintiff,        )       FINAL ORDER OF
                                       )       FORFEITURE RE: PERSONAL PROPERTY
13        v.                           )       OF DEFENDANTS MARCO ANTONIO
                                       )       NEGRETE-SAENZ, VICTOR SANCHEZ
14   MARCO ANTONIO NEGRETE-SAENZ,      )       SEPULVEDA, AND GILBERTO
     JESUS OLIVAREZ-VEGA,              )       MALDONADO
15      aka Jesus Oliveras-Vega,       )
     MANUEL SOLORZANO CONTINO,         )
16      aka Victor Sanchez             )
        Sepulveda,                     )
17   GILBERTO MALDONADO, and           )
     JAVIER VILLAVICENCIO,             )
18                                     )
                     Defendants.       )
19                                     )
20        WHEREAS, on August 17, 2004, this Court entered a Preliminary
21   Order of Forfeiture    Re: Personal Property of Defendants Marco
22   Antonio Negrete-Saenz, Victor Sanchez Sepulveda, and Gilberto
23   Maldonado, pursuant to the provisions of 21 U.S.C. § 853, based
24   upon the guilty verdicts by a jury of violations of 21 U.S.C. §§§
25   841, 841(b)(1)(A), 841(c)(2), 843(b), and 846 by defendants Marco
26   Antonio Negrete-Saenz, Victor Sanchez Sepulveda, and Gilberto
27   Maldonado and the oral stipulation for forfeiture, forfeiting to
28   the United States the following property:

                                           1
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1                a.     $10,600 in U.S. Currency;
2                b.     2000 Chevrolet Pickup Truck, VIN No.
                        1GCEC14WXYZ217600, California License No. 6N47516;
3                       and,
4                c.     1995 Chevrolet Suburban, VIN No. 1GNEC16K5SJ321306,
                        California License No. 4WBG898.
5
          AND WHEREAS, on September 27, 2004, October 4, 2004 and
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     October 11, 2004, the United States published notification of the
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     Court’s Preliminary Order of Forfeiture in The Modesto Bee
8
     (Stanislaus      County), a newspaper of general circulation located in
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     the county in which the above-described property was seized.           Said
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     published notice advised all third parties of their right to
11
     petition the court within thirty (30) days of the publication date
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     for a hearing to adjudicate the validity of their alleged legal
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     interest in the forfeited property;
14
          AND WHEREAS, the United States and Petitioner Ruesga’s Used
15
     Cars, have entered into a stipulation for expedited settlement
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     approved by the Court on January 18, 2005, regarding the personal
17
     property (hereafter “the Property”) described as the 1995 Chevrolet
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     Suburban, VIN No. 1GNEC16K5SJ321306, California License No.
19
     4WBG898;
20
          AND WHEREAS, the Court has been advised that no other third
21
     party has filed a claim to the subject personal properties, and the
22
     time for any person or entity to file a claim has expired;
23
          Accordingly, it is hereby ORDERED and ADJUDGED:
24
          1.    A Final Order of Forfeiture shall be entered forfeiting to
25
     the United States of America all right, title, and interest in the
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     above-listed personal properties pursuant to 21 U.S.C. § 853, to be
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     disposed of according to law, including all right, title, and
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1    interest of defendants Marco Antonio Negrete-Saenz, Victor Sanchez
2    Sepulveda, and Gilberto Maldonado.
3         2.    All right, title, and interest in the above-described
4    properties shall vest solely in the name of the United States of
5    America.
6         3.    The United States shall pay, upon entry of this Final
7    Order of Forfeiture and the sale of the Property, Petitioner
8    Ruesga’s Used Cars from the proceeds of sale, after payment of
9    outstanding expenses incurred by the U.S. Marshals Service in
10   connection with its custody and sale of the Property, the
11   following:
12               a.   The amount of $3,629.92 in full settlement and
13                    satisfaction of Ruesga’s Used Cars claim against
14                    the Property and of all claims arising from and
15                    relating to the seizure, detention, and forfeiture
16                    of the Property.
17        4.    The United States shall maintain custody of and control
18   over the subject personal properties until they are disposed of
19   according to law.
20        SO ORDERED THIS 22ND       day of     November    , 2005.
21
22                                     /s/ OLIVER W. WANGER
23
                                       OLIVER W. WANGER
24                                     United States District Judge
25
26                       CERTIFICATE OF REASONABLE CAUSE
27        Pursuant to the guilty verdicts by a jury and the oral
28   stipulation for forfeiture of defendants Marco Antonio Negrete-

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1    Saenz, Victor Sanchez Sepulveda, and Gilberto Maldonado, the Court
2    enters this Certificate of Reasonable Cause pursuant to 28 U.S.C. §
3    2465, that there was reasonable cause for seizure of the above-
4    described personal properties.
5
6    Dated: November 22, 2005          /s/ OLIVER W. WANGER
                                       OLIVER W. WANGER
7                                      United States District Judge
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